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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

------ ----X
CAROL SPACK, TABITHA SCHMIDT,
Individually and on behalf of all others
similarly situated, as
Collective representative,

 

Plaintiffs,
V.

TRANS WORLD ENTERTAINMENT
CORPORATION and RECORD TOWN, INC.:

Defendants. :
- -- -X
---- --X
NATASHA ROPER, Individually and
On behalf of all others similarly situated, as
Collective representative,

 

 

Plaintiffs,
V.

TRANS WORLD ENTERTAINMENT :
CORPORATION and RECORD TOWN, INC::

Defendants. ;
pane ----X

 

Case No. 1:17-cv-1335-TJM-CFH

Case No. 1:17-cv-00553-TJM-CFH

MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR
PRELIMINARY APPROVAL OF CLASS SETTLEMENT AND PROVISIONAL
CERTIFICATION OF SETTLEMENT CLASS

Stephan T. Mashel, Esquire
Amy C. Blanchfield, Esquire
MASHEL LAW, L.L.C.

500 Campus Drive, Suite 303
Morganville, New Jersey 07751

ATTORNEYS FOR PLAINTIFFS
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PRELIMINARY STATEMENT

After attending a settlement conference with the Honorable Christian F. Hummel, U.S.M.J. and
several arms-length settlement discussions, the parties to this case reached a preliminary settlement in
which Defendants Trans World Entertainment Corp. (TWEC) and Record Town, Inc. (collectively
referred to as “the TWEC Defendants” or “Defendants”) agrees to pay to Plaintiffs and the putative
collective and class a gross sum of $400,000.00 to settle all claims including, but not limited to, those
brought for alleged unpaid overtime wages under the federal Fair Labor Standards Act (FLSA) and
state class action claims brought under New Jersey’s Wage and Hour Law (NJWHL) and the
Pennsylvania Minimum Wage Act (PMWA). The $400,000.00 settlement amount will adequately
settle these claims. Accordingly, Plaintiffs make this unopposed motion to obtain Court approval of

this preliminary settlement.

Specifically, Plaintiffs make this unopposed motion seeking entry of an Order providing the
following relief: (1) certifying a settlement class under Federal Rule of Civil Procedure 23(a) and (b)(3)
on a provisional basis only; (2) final certification of a FLSA collective action settlement class under 29
U.S.C. § 216(b) on a provisional basis only; (3) preliminary approval of the settlement of the Rule 23
class claims; and (4) preliminary approval of the settlement of the FLSA class claims.

The parties have already expended a significant amount of resources on this litigation and,
accordingly, fully understand the risks associated with this litigation, including the TWEC Defendants’
precarious and uncertain financial situation. In the interest of judicial economy, and because the
proposed settlement is fair, reasonable and adequate, Plaintiffs respectfully request that the Court order
provisional certification of the collective action under 29 U.S.C. § 216(b) for settlement purposes,
appoint Mashel Law, L.L.C. as class counsel for settlement purposes, and grant preliminary approval

of the class settlement, class notice, settlement procedure, and the parties’ Settlement Agreement.
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PROCEDURAL HISTORY AND STATEMENT OF FACTS

A. For Over Three Years, the Parties Have Vigorously Litigated this Class and
Collective Action.

On April 20, 2017, Plaintiff Carol Spack filed a three-count class and collective action in the
United States District of New Jersey under Case No. 3:17-cv-02687-BRM-LHG on behalf of herself
and all similarly situated current and former employees of TWEC. ECF No. 1, 1:17-cv-1335. The
Complaint asserts one count for TWEC’s alleged willful violation of the FLSA, one count for alleged
violations of the NJWHL and one count for alleged violations of PMWA. ECF No. 1, 1:17-cv-1335.
The collective action brought under the FLSA proposes two, separate collectives, one for the Store
Managers (SMs) and one for the Senior Assistant Managers (SAMs). For the SMs, the collective
includes the Named Plaintiffs, those individuals who have filed a timely consent to participate in the
Litigation and individuals (other than the Named Plaintiffs and Opt-In Plaintiffs) who were employed
by TWEC (or a related entity) as a SM for at least one week between April 1, 2014 through Preliminary
Approval (excluding SMs who worked exclusively in California) who did not receive notice when the
Court conditionally certified a collective of SMs. For the SAMs, the collective includes the Named
Plaintiffs, any individual who has filed a timely consent to participate in this action, and individuals
(other than the Named Plaintiffs and Opt-In Plaintiffs) who were employed by TWEC (or a related
entity) as a SAM for at least one week between April 1, 2014 through Preliminary Approval. SAMs
who worked exclusively in California during this time period or who worked exclusively in
Pennsylvania after July 15, 2017 are expressly excluded.:

With respect to the SMs, Plaintiffs allege TWEC misclassified the SMs as exempt from
receiving overtime and failed to pay them for all time worked. With respect to the SAMs, Plaintiffs
allege TWEC violated wage and hour laws by miscalculating their overtime and failing to pay SAMs

for all hours worked. ECF No. 1, 1:17-cv-1335. The separate subclasses under NJWHL and PMWA
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consists of those individuals (other than the Named Plaintiffs and Opt-In Plaintiffs) who were employed
by TWEC (or a related entity) as a SM or a SAM for a period of at least one (1) week during the
Relevant Period in either New Jersey or Pennsylvania. SAMs who worked exclusively in Pennsylvania
after July 15, 2017 are expressly excluded.

On May 19, 2017, Plaintiff Roper filed a Complaint in the Northern District of New York
alleging similar FLSA claims. ECF No. 1, 1:17-cv-0553.On June 14, 2017, TWEC filed a motion to
transfer the Spack Action to the Northern District of New York. ECF No. 8, 1:17-cv-1335. Spack filed
an opposition and filed a cross-motion to amend her Complaint to include SMs as part of the proposed
class under the PMWA, to add an additional Plaintiff, Tabitha Schmidt and add unpaid working “off
the clock” claims. The Court granted TWEC’s motion to transfer. ECF No. 37, 1:17-cv-1335. On May
7, 2018, the Court filed an order consolidating the Spack and Roper matters. ECF No. 85, 1:17-cv-
1335.

B. The Parties Conducted Extensive Discovery.

The parties participated in extensive discovery during the pendency of this action including, but
not limited to, the exchange of thousands of documents consisting of payroll records, policies and
procedures, personnel files and ESI Discovery. The parties have also taken the depositions of Plaintiffs
Carol Spack, Tabitha Schmidt, and Natasha Roper (collectively referred to as the “Named Plaintiffs’),
a fact witness and two corporate designee depositions. Plaintiffs’ attorneys have also interviewed many
non-party witnesses and obtained Declarations from them which were later filed with the Court.
Defendants’ counsel also interviewed numerous SMs and obtained dozens of declarations that were
filed in opposition to Plaintiffs’ motion for conditional certification of that collective. For the SM
claims, the parties have also engaged in second-stage discovery, exchanging numerous documents and

written discovery responses for 40 SM Discovery Opt-In Plaintiffs.
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C. Named Plaintiffs Have Been Actively Involved Throughout This Litigation.

Named Plaintiffs Spack, Schmidt and Roper have responded to discovery requests, extensively
prepared for the taking of their depositions, had their depositions taken, and assisted their attorneys in
identifying potential witnesses and by reviewing thousands of documents produced by the TWEC in
this matter. Overall, the Named Plaintiffs have provided counsel with invaluable insight in this case.

The parties have also selected 40 SM Discovery Opt-In Plaintiffs to participate in discovery,
including answering interrogatories, providing responsive documents and assisting counsel in litigating
this matter. The Discovery Opt-In Plaintiffs have been an asset to Class Counsel.

D. The Court Granted Plaintiffs’ Motion for Conditional Certification for SMs.

On January 15, 2019, the Court granted Plaintiffs’ Motion for Conditional Certification

pursuant to 29 U.S.C. §216(b) for the SMs. To date, 218 SMs have joined this case.

E. On December 23, 2019, TWEC Filed Its 10-O Stating It Had “Substantial Doubt”
It Will Be Able to Sustain Operations For Another Year.

 

 

On December 23, 2019, TWEC released its third-quarter Security and Exchange Commission
Form 10-Q regulatory filing.’ See Exhibit A annexed to the Declaration of Stephan T. Mashel, Esquire,
(“Mashel Dec.”). TWEC “reported “incurred net losses of $39.1 million and $31.7 million for the
thirty-nine weeks ended November 2, 2019 and November 3, 2018.” Id. at p. 8. TWEC also advised
that it expected “to incur net losses in the foreseeable future.” Id. “Based on its recurring losses from
operations, expectation of continuing operating losses for the foreseeable future, and uncertainty with
respect to any available future funding, as well as the completion of other strategic alternatives,

[TWEC] has concluded that there is substantial doubt about [TWEC’s] ability to continue...” Id.

 

' Trans Word Entertainment is a publicly traded corporation which is listed on the NASDAQ under
the symbol TWMC.
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F. On January 23, 2020, TWEC Announced It Was Selling Its FYE Stores and Other
Assets to Sunrise Records For Only $10 Million.

On January 23, 2020, TWEC agreed to sell the FYE retail, video and collectibles retail business
to Sunrise Records and Entertainment Ltd. (“Sunrise”) for $10 million. See Exhibit B, p. 17. It was
announced that the stores will be rebranded as Sunrise and substantially all of the FYE employees will
be retained. Id. at p. 35. The $10 million price was subject to net inventory and other adjustments, plus
the assumption of certain liabilities. Id. at p. 13. As is material here, TWEC maintained liability for
employment-related causes of action through the date of closing, with the buyer assuming any such
liability from the date of closing onward. Id. at pp. 41-42

All of the proceeds from the transaction would be used to pay outstanding debts and satisfy
other unassumed liabilities. See Exhibit C, TWEC’s January 23, 2020 Press Release attached to. The
assets Sunrise received included net inventory worth approximately $40 million. See Exhibit B, at p.
41-42. If the value of the inventory is less or more, the purchase price would be adjusted. Id. The
Purchase Agreement specifically stated that TWEC would indemnify Sunrise for any employment
claims arising prior to the date of closing, including this lawsuit. Id. at pp. 41-42.

The deal left TWEC with just one business, a digital marketplace firm called Etailz that is
currently losing money. See Exhibit A, p. 24. Etailz generates substantially all of its revenue through
Amazon Marketplace. Id. Based on the recurring losses at Etailz and the expectation of continued
losses, especially given the current pandemic, Plaintiffs are concerned that TWEC will not continue
even after the sale to Sunrise.

G. On February 26, 2020, the Parties Conducted Settlement Negotiations During a
Settlement Conference with the Honorable Christian F. Hummel.

 

On February 26, 2020, the parties attended a settlement conference with the Honorable

Christian F. Hummel held at the James T. Foley U.S. Courthouse located in Albany, New York. In
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preparation for the settlement conference, each party prepared and submitted statements to Judge
Hummel, including a detailed analysis of the claims and defenses in this case. Although the settlement
conference was unsuccessful, the parties continued to engage in arms-length negotiations. In March
2020, the parties reached an agreement in principle, settling both the SM and SAM claims for the
aggregate sum of $400,000.00. Thereafter, the parties finalized the terms of the Settlement and signed
the formal Settlement Agreement.

H. Mashel Law, L.L.C. Has Extensive Knowledge in Litigating Wage and
Hour Cases, Including Class Actions.

Mashel Law, L.L.C. is the law firm representing the Named Plaintiffs and the Opt-In Plaintiffs
in this action. Mashel Law is experienced in similar wage and hour violations as those that are present
here. Stephan T. Mashel, Esquire is the principal attorney at Mashel Law. He has over thirty-three (33)
years of experience as a plaintiff’s litigation attorney in good standing in the State of New Jersey. Mr.
Mashel has extensive experience litigating employment cases and has a growing practice involving
class action claims. For example, Mr. Mashel was one of the lead plaintiff attorneys in Mittl v. Lowe’s
Home Centers, LLC, Case No. 3:15-cv-06886-BRM-DEA, a New Jersey class action in the United
States District Court of the District of New Jersey which alleged, inter. alia, that a class of service
installers had been misclassified as independent contractors in violation of the New Jersey Construction
Industry Independent Contractor Act, N.J.S.A., 34:20-1, et seq . Mashel Law also successfully litigated
Carter, et al. v. Bed Bath & Beyond, Inc., MID-L-6178-16, which alleged similar FLSA claims. Mashel
Law is also counsel of record for the plaintiffs in Sanchez v. Santander Bank, N.A., Case No. 3:17-cv-
05775-PGS-DEA, a FLSA class/collective action in the District of New Jersey.

I. The Settlement Fund and Eligible Employees.

 

The Settlement Agreement establishes a maximum settlement amount of $400,000.00 (the

“Settlement Fund”) for which SM and SAM collective and class members (“Participating Class
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Members”) may claim settlement awards. The Settlement Fund covers any Court-approved Service
Awards, attorneys’ fees and expenses, Settlement Administrator’s fees and Participating Class
Members awards. The $400,000.00 Settlement Fund, less the above detailed expenses and fees, will be
paid out by the Settlement Administrator to the individual SMs and SAMs who submit a valid and
timely claim form. Each individual Opt-In Plaintiff will not be required to submit any Claim Form but
may opt out of the settlement. Pursuant to the Settlement Agreement, Plaintiffs’ counsel will seek an
award of attorneys’ fees of 33 1/3 % of the gross Settlement Fund plus an application for reimbursement
of expenses to Plaintiffs’ counsel not to exceed $40,000.00, and a Class representative incentive fee
award of $5,000 for each of the three Named Plaintiffs, as well as a Service Award of $250.00 for the
forty (40) SM Discovery Opt-In Plaintiffs that participated in written discovery.

The Opt-In Plaintiffs include the Named Plaintiffs and those individuals who have filed a timely
consent to participate in the Litigation. For the SMs, all FLSA consent forms filed with the Court will
be considered timely so long as they were signed between April 1, 2014 and April 1, 2020 (the
‘Relevant Time Period”) and each individual was employed by TWEC, or a related entity, as a SM for
at least one week during the Relevant Time Period. For the SAMs, the FLSA consent forms will be
deemed timely if they were filed with the Court within three years of their last date of employment at
TWEC, or a related entity.

The Putative Collective Members include those individuals, other than Named Plaintiffs and
Opt-In Plaintiffs, who were employed by TWEC, or a related entity, as a SAM for at least one week
between April 1, 2014 and the present; except for SAMs who worked exclusively in California during
this time period or who worked exclusively in Pennsylvania after July 15, 2017 who are expressly
excluded because they were classified as non-exempt and paid hourly (as opposed to the other SAMs

who were classified as salaried non-exempt and had their overtime calculated using the FWW). The
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Putative Class Members include those individuals, other than the Named Plaintiffs and Opt-In
Plaintiffs, who were employed by TWEC, or a related entity, as a SM or aSAM for a period of at least
one week during the Relevant Time Period in either New Jersey or Pennsylvania. SAMs who worked
exclusively in Pennsylvania after July 15, 2017 shall not be included in any calculation for settlement
payments because they were reclassified as hourly and paid accordingly from that date on.

J. Distribution of Payments to Settlement Class Members.

Payments to Participating Class Members will be made from the Net Settlement Fund. Each
Participating Class Member shall be paid out of the QSF with each such individual receiving a prorated
portion of the Net Settlement Fund. The prorated portion of the Net Settlement Fund to which each
Class Member will be eligible shall be calculated based on the number of weeks worked by each Class
Member during the Relevant Time Period. To calculate the proportionate share for which each Class
Member is eligible: (a) add all weeks worked by all Class Members during the Relevant Time Period
to obtain the “Total Denominator;” (b) divide the number of weeks worked for each individual Class
Member by the Total Denominator to obtain each individual’s “Percentage of the Net Settlement
Fund;” and (c) multiply each individual’s Percentage of the Net Settlement Fund by the Net Settlement
Fund to determine each Class Member’s “Settlement Award.” The selected Class Administrator will
provide its calculations to counsel within three business days after completing the calculations.

LEGAL ARGUMENT

I. PRELIMINARY APPROVAL IS APPROPRIATE PURSUANT TO RULE 23(e)
BECAUSE THE SETTLEMENT IS FAIR, ADEQUATE AND REASONABLE.

A. There Is A Strong Judicial Policy in Favor of Settlements, Especially In the
Class Action Context and Preliminary Approval Is Warranted So Long As
There Is “Probable Cause” to Substantiate Settlement to the Class.

There is a “strong judicial policy in favor of settlements, particularly in the class action context.”

Wal-Mart Stores, Inc. v. Visa U.S.A. Inc., 396 F.2d 96, 116 (2d Cir. 2005); Ehrheart v. Verizon

 
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Wireless, 609 F.3d 590, 594-595 (3d Cir. 2010) (finding the law favors compromise and settlement of
collective action and class action lawsuits); Officers for Justice v. Civil Serv. Comm’n, 688 F.2d 615,
625 (9 Cir. 1982) (“[V]oluntary conciliation and settlement are the preferred means of dispute

resolution. This is especially true in complex class action litigation.”); Speed Shore Corp. v. Denda,

 

605 F.2d 469, 473 (9" Cir. 1979) (“It is well recognized that settlement agreements are judicially
favored as a matter of sound public policy. Settlement agreements conserve judicial time and limit

expensive litigation.”). The approval of a proposed class action settlement is a matter of discretion for

the trial court. Maywalt v. Parker & Parsley Petroleum Co., 67 F.3d 1072, 1079 (2d Cir. 1998).

 

Preliminary approval requires only an “initial evaluation” of the fairness of the proposed
settlement on the basis of written submissions and an informal presentation by the settling parties.
NEWBERG § 11.25. To grant preliminary approval, the court need only find that there is “‘probable
cause’ to submit the [settlement] to class members and hold a full-scale hearing as to its fairness.” In
re Traffic Executive Ass’n, 627 F.2d 631, 634 (2d Cir. 1980); NEWBERG § 11.25 (“If preliminary
evaluation of the proposed settlement does not disclose grounds to doubt its fairness...and appears to
fall within the range of possible approval,” the court should permit notice of the settlement to be sent
to class members).

B. The Proposed Settlement Is Fair, Adequate and Reasonable.

 

To determine whether a settlement should be granted approval under Rule 23(e), the Court must
determine that the proposed settlement is “fair, adequate, and reasonable, and not a product of
collusion.” Joel A. v. Giuliani, 218 F.3d 132, 138 (2d Cir. 2000) (citations omitted); see also Fed. R.
Civ. P. 23(e). Approval of a class action settlement generally involves a two-step process. First, the
court preliminarily approves the proposed settlement by evaluating the written submissions and

informal presentation of the settling parties and the negotiating process leading to the settlement. Wal-
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Mart Stores, 396 F.3d at 116. Second, the court holds a fairness hearing to “determine whether the

 

 

settlement’s terms are fair, adequate, and reasonable[.]” Capsolas v. Pasta Res., Inc., No. 10 CV 5595,
2012 U.S. Dist. LEXIS 144651, at *4 (E.D.N.Y. Oct. 5, 2012).

1. The Proposed Settlement is Procedurally Fair Because It Was Achieved Through Arms-
Length Negotiations by The Attorneys of Record.

 

 

In determining whether to approve a settlement, the court must determine whether the
settlement was procedurally fair. In doing so, the court looks at whether the settlement was “achieved
through arms-length negotiations by counsel with the experience and ability to effectively represent

the class’s interests.” Becher v. Long Island Lighting Co., 64 F. Supp. 2d 174, 178 (E.D.N.Y. 1999)

 

(citing Weinberger v. Kendrick, 698 F.2d 61, 74 (2d. Cir. 1982); see also D’ Amato v. Deutsche Bank

 

236 F.3d 78, 85 (2d Cir. 2001) (noting that the district court must “determine a settlement’s fairness by
examining the negotiating process leading up to the settlement as well as the settlement’s substantive
terms’). In reviewing a proposed settlement, the court has the “fiduciary responsibility of ensuring that

the settlement is...not a product of collusion, and that the class members’ interests [were] represented

adequately.” Clement v. Am. Honda Fin. Corp., 176 F.R.D. 15, 29 (D. Conn. 1997). A “presumption

 

of fairness, adequacy and reasonableness may attach to a class settlement reached in arm’s-length
regulations between experienced, capable counsel after meaningful discovery.” Wal-Mart Stores, 396
F.3d at 116; see also D’ Amato, 236 F.3d at 85. “Absent fraud or collusion, [courts’ should be hesitant
to substitute [their] judgment for that of the parties who negotiated the settlement.” In re EVCI Career

Colls. Holding Corp. Sec. Litig., No. 05 Civ. 10240, at *4 (S.D.N.Y. July 27, 2007).

 

Here, the proposed settlement was reached only after Plaintiffs’ attorneys conducted a thorough
investigation, evaluated the claims and defenses, and negotiated extensively with counsel for
Defendants. Throughout this three-year litigation, Plaintiffs’ attorneys have obtained and reviewed

thousands of pages of payroll records, timekeeping records, policies and procedures, and emails

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produced by the Defendants. Plaintiffs’ attorneys have interviewed several non-party witnesses and
have conducted two corporate designee depositions and a fact witness deposition. Plaintiffs’ attorneys
adequately evaluated the strengths and weaknesses of the claims and defenses. On February 26, 2020,
the parties participated in a settlement conference with the Court. Even though the settlement
conference was unsuccessful, the parties continued to engage in extensive arms-length negotiations
after the conference until a proposed settlement was reached. Therefore, Plaintiffs submit that the
process of reaching this proposed settlement was procedurally fair.
2. The Proposed Settlement Is Substantively Fair.

In determining whether to preliminarily approve the proposed settlement, the Court must
determine whether the settlement is substantively fair. In doing so, the Court evaluates the nine factors
set out by the Second Circuit in City of Detroit v. Grinnell Corp., 495 F.2d 448, 463 (2d Cir. 1974),
abrogated on other grounds, Goldberger v. Integrated Res., Inc., 209 F.3d 43 (2d Cir. 2000)). These
factors include: (1) the complexity, expense and likely duration of the litigation; (2) the reaction of the
class to the settlement; (3) the stage of the proceedings and the amount of discovery completed; (4) the
risks of establishing liability; (5) the risks of establishing damages; (6) the risks of maintaining the
class action through the trial; (7) the ability of defendants to withstand a greater judgment; (8) the range
of reasonableness of the Settlement Fund in light of the best possible recovery; and (9) the range of
reasonableness of the Settlement Fund to a possible recovery in light of all the attendant risks of
litigation. City of Detroit v. Grinnell Corp., 495 F.2d at 463.

i. Litigation Through Trial Would Be Extremely Complex, Costly and Long.

By reaching a favorable settlement before additional discovery takes place, dispositive motions
or trial, the parties seek to avoid significant expense and delay to ensure the class receives recovery.

As is the case here, “[mJost class actions are inherently complex and settlement avoids the costs, delays

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